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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

WEST FLAGLER ASSOCIATES, LTD., a
Florida Limited Partnership d/b/a MAGIC
CITY CASINO,

BONITA-FORT MYERS CORPORATION,
a Florida Corporation d/b/a BONITA
SPRINGS POKER ROOM,

              Plaintiffs,

v.                                                    Civil Action No. 1:21-cv-02192-DLF

DEB HAALAND, in her official capacity as
SECRETARY OF THE UNITED STATES
DEPARTMENT OF THE INTERIOR,

UNITED STATES DEPARTMENT OF
THE INTERIOR,

              Defendants.


                DECLARATION OF MARCELLUS W. OSCEOLA, JR.

     I, Marcellus W. Osceola, Jr. hereby declare as follows:

     1. I am over 18 years of age and otherwise qualified to testify to the facts below.

     2. I am the Chairman of the Tribal Council of the Seminole Tribe of Florida, which is a

         federally-recognized Indian tribal government with reservations and trust lands

         located in the State of Florida.

     3. In May of 2021, the Tribe and the State of Florida entered into a new gaming

         Compact under the Indian Gaming Regulatory Act. The Compact authorizes the

         Tribe to offer new games, including craps, roulette and retail and online sports

         betting. The online sports betting is available to players physically located within the

         State of Florida. In order to regulate the games under the Compact, the State and the
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   Tribe agreed that wagers by players physically located in the State will be deemed to

   occur where received at a gaming facility located on the Tribe's Indian lands. In

   return for the right to offer online sports betting and other games on an exclusive

   basis, the Tribe agreed to make substantial revenue sharing payments to the State,

   including a minimum of $2.5 billion over the first five years of the Compact.

4. The Compact was signed by the Governor and ratified by the Florida Legislature by

   an overwhelming bi-partisan majority. The Compact was then approved by operation

   of law and published in the Federal Register on August 11, 2021.

5. Once the Compact went into effect, it required the Tribe to resume significant

   monthly revenue sharing payments to the State. On October 15, the Tribe made its

   first revenue sharing payment under the Compact of $37.5 million to the State. The

   Tribe made a second payment of $37.5 million on November 15. The Tribe was

   obligated to begin making these payments even before it began generating revenue

   from the new forms of gaming authorized under the Compact.

6. The Tribe was permitted to add craps and roulette when the Compact took effect on

   August 11, 2021. The Tribe has hired scores of employees and purchased equipment

   in preparation to formally launch craps and roulette this month. To date, the Tribe

   has spent hundreds of thousands of dollars preparing to launch craps and roulette. If

   the Tribe were prevented from launching those new games it would lose a significant

   investment in resources and personnel.

7. With respect to sports betting, before the Compact was ratified by the Legislature, the

   parties agreed to amend the Compact such that the sports betting authorized in the

   Compact could occur no sooner than October 15, 2021. After a considerable



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   investment on the part of the Tribe, the online sports betting authorized in the

   Compact went live on November 1, 2021.

8. The Tribe has developed its online sportsbook through its vendor Seminole Hard

   Rock Digital, LLC ("Seminole HRD") which is majority owned by the Tribe through

   its ownership of Hard Rock International. To date, over $25 million has been spent to

   develop the Tribe's online sportsbook. This amount is anticipated to grow to over $45

   million by the end of the year.

9. The Tribe has also made significant investments to its workforce to implement the

   online sports betting authorized in the Compact. In addition to the Tribe's own

   employees, Seminole HRD has 237 employees, has hired 30 more who have not yet

   started, and has 35 vacancies. In addition, the Tribe has outsourced 146 customer

   service representatives and has engaged more than 50 outside suppliers and vendors.

10. The Tribe’s online sports betting authorized by the Compact is now in operation, and

   is generating millions in revenue per week. The Tribe is using these funds to pay

   back the development costs for its online sportsbook, make revenue sharing payments

   to the State and fund important tribal programs.

11. The Tribe would be irreparably injured if it is required to cease online sports betting

   pending the outcome of an appeal. The Tribe would immediately lose the millions in

   online sports betting revenues the Tribe is generating. As a result, many of these jobs

   and outsourced position would be lost.

12. In addition, if the Tribe is not permitted to operate under the 2021 Compact during an

   appeal, then the State would lose tens of millions per month in revenue sharing

   payments from the Tribe.



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 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct.

 Executed this 23rd day of November, 2021


                                          _______________________
                                          Marcellus W. Osceola, Jr., Chairman
                                          Seminole Tribe of Florida




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